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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
v.                                           :       Case No. 1:21-cr-687 (RC)
                                             :
DAVID CHARLES RHINE,                         :
                                             :
Defendant.                                   :


             UNITED STATES’ NOTICE OF SUPPLEMENTAL MATERIALS
                      TO BE RELIED UPON AT SENTENCING

       In his Response to the Government’s Sentencing Memorandum (ECF No. 116), defendant

Charles David Rhine, among other things, (i) attempts to distinguish Judge Moss’ ruling in United

States v. Vargas, No. 21-cr-47-RDM (D.D.C. Apr. 21, 2023), that Guideline § 2A2.4 – not § 2B2.3

– governed that January 6 defendant’s conviction for knowingly engaging in disorderly or

disruptive conduct in a restricted building or grounds, in violation of 18 U.S.C. § 1752(a)(2), see

ECF No. 116 at 3-4 n.1; and (ii) contends that the government has submitted insufficient evidence

in support of its restitution request, see ECF No. 116 at 13-14. In response to these claims, at

sentencing, the government expects to rely on the following materials, which the government

hereby submits to the Court:

       1.      Exhibit 1: The transcript of the sentencing hearing in United States v. Vargas, No.

               21-cr-47-RDM (D.D.C. Apr. 21, 2023), which refutes both the defendant’s

               characterization of the ruling in Vargas and the defendant’s argument for applying

               Guideline § 2B2.3 to Count Two in this case. See United States v. Vargas, No. 21-

               cr-47-RDM, Sent Tr. 6-24 (D.D.C. Apr. 21, 2023).1


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      Access to the Vargas transcript is currently restricted on Pacer. Accordingly, the
government will provide the transcript to the Court and defense counsel by email.
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       2.     Exhibit 2: Documents supporting the PSR’s determination (at ¶ 19) that Congress

              sustained a loss of approximately $2,923,080.05 as a result of the January 6 attack:

                         Damages to the Capitol Building and Grounds

 Architect of the Capitol                               $1,177,254.03
 House Chief Administrative Officer                       $547,411.27
 Secretary of the Senate                                   $32,075.00
 Senate Sargent at Arms                                    $79,490.05
 Total                                                  $1,836,230.35

            Damages Incurred by the United States Capitol Police Department

 Continuation of Pay (COP)/Workers Comp
                                                        $1,086,849.70
 and Medical Treatment; Lost and Damaged
 Property

                                              Total

 Total for both groups                                  $2,923,080.05


September 8, 2023                     Respectfully submitted,
                                      MATTHEW M. GRAVES
                                      UNITED STATES ATTORNEY
                                      D.C. Bar No. 481052

                              By:     /s/ Francesco Valentini
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